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1                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
2                                     EASTERN DIVISION

3        MAPLEVALE FARMS, INC.,                     )   Docket No. 16 C 8637
         individually and on behalf of              )
4        all others similarly situated,             )
                                                    )
5                           Plaintiff,              )   Chicago, Illinois
                                                    )   September 22, 2016
6                     v.                            )   9:24 a.m.
                                                    )
7        KOCH FOODS, INC., et al.,                  )
                                                    )
8                           Defendants.             )

9
                      TRANSCRIPT OF PROCEEDINGS - Motion Hearing
10                       BEFORE THE HONORABLE THOMAS M. DURKIN

11
         APPEARANCES:
12

13       For Plaintiffs             HART McLAUGHLIN & ELDRIDGE LLC by
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         For Defendant              KIRKLAND & ELLIS LLP by
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         For Defendant              SHOOK HARDY & BACON LLP by
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1             (In open court.)

2                    THE CLERK:     Okay.    16 C 8637, Maplevale Farms v. Koch

3        Foods.

4                    And I need to get someone on the phone for that one as

5        well.

6             (Clerk places telephone call.)

7                    MS. LEVINE:     This is Andrea.

8                    THE CLERK:     Good morning.      It's Sandy with Judge

9        Durkin calling on 16 C 8637, Maplevale Farms v. Koch Foods.

10                   THE COURT:     All right.     Good morning.      Let's have

11       everyone identify themselves for the record starting first with

12       the person on the phone.

13                   MS. LEVINE:     Hi.    This is Andrea Levine from Simpson

14       Thacher.     We're representing Pilgrim's Pride.

15                   THE COURT:     And -- who do you represent again?

16                   Pilgrim's Pride?       All right.

17                   MS. LEVINE:     That's correct.

18                   THE COURT:     Okay.    And in court, who do we have?

19                   MR. BERMAN:     Good morning, your Honor.         Steve Berman

20       on behalf of the Percy movants.

21                   MR. HART:     Good morning, your Honor.         Steven Hart on

22       behalf of the first-filed direct plaintiffs on Maplevale and

23       Gross.

24                   MS. FEGAN:     Good morning, your Honor.         Elizabeth Fegan

25       with Steve Berman's firm on behalf of the Percy plaintiffs.
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1                    THE COURT:     All right.

2                    MR. DOYLE:     Good morning, your Honor.         Thomas Doyle

3        for the Fargo Stopping Center plaintiffs.

4                    MS. MURRAY:     Good morning, your Honor.         Lynn Murray

5        for Simmons Foods, defendant.

6                    MR. LAYTIN:     Good morning, your Honor.         Dan Laytin

7        from Kirkland for Sanderson Farms.            Laytin, L-A-Y-T-I-N.

8                    MR. BELL:     Good morning, your Honor.         Theodore Bell on

9        behalf of the indirect purchasers in the Drucker case.

10                   THE COURT:     All right.     Well, good morning, all of

11       you.    It seems like we should have more people here, as many as

12       we do have.

13                   By the way, I should note for the record I know

14       Mr. Berman.      We had cases together against each other years ago

15       where he represented plaintiffs suing Abbott Laboratories.                  So

16       we're not personal friends, but we've had professional dealings

17       over the years.

18                   Mr. Hart has a case in front of me already that was up

19       just earlier this week.

20                   Mr. Doyle has had cases in front of me that have gone

21       up and back from the 7th Circuit.

22                   So I know a number of the attorneys in the case, but

23       none on a social basis, all professional.              So it's not a basis

24       for me to recuse myself, but just a matter to put on the

25       record.
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1                    Okay.   So my first question is, is there -- at least

2        among the defendants and plaintiffs who are here, is there any

3        objection to this motion?

4                    MS. MURRAY:     Your Honor, Lynn Murray for Simmons

5        Foods.

6                    I think not everyone who might want to be heard is

7        here.    It's very possible that in the end, the defendants as a

8        group will have no objection.           But I think rather than take a

9        position now, we'd like to coordinate as defendants and give

10       you that answer once everybody has been represented.

11                   THE COURT:     All right.     Well, that's reasonable.          Are

12       some defendants not represented yet?

13                   MR. LAYTIN:     I believe that's the case, and I believe

14       not all defendants have been served.

15                   THE COURT:     Okay.    Who is -- well, there's a lot of

16       defendants.

17                   MR. HART:     I can comment on that, your Honor.           At

18       least in the Maplevale case, there was 28 defendants sued.

19       19 have been served.

20                   THE COURT:     Okay.

21                   MR. HART:     I believe at least two have appeared.             So

22       that is correct.

23                   THE COURT:     All right.     Well, I will tell you, having

24       read it, this seems like a reasonable motion.               The plaintiffs

25       are either direct or indirect purchasers of the broilers; the
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1        defendants are the farms.          And they're all similar defendants.

2                    Are there differences in the defendants in each case,

3        or are they all the same?

4                    MR. HART:     They're nearly identical, if not exactly

5        identical, and the complaints are nearly identical --

6                    THE COURT:     Okay.

7                    MR. HART:     -- and the allegations therein.

8                    THE COURT:     On its face, this seems like there's going

9        to be enormous efficiencies in having this in front of one

10       judge, both for discovery coordination and, if there's motions

11       to dismiss, you don't want seven different judges in this

12       building ruling on them.

13                   Are there other cases pending in this country other

14       than the seven -- is it seven, I think, we have here?

15                   MR. HART:     We checked yesterday, your Honor, and there

16       was no other cases filed in any other jurisdiction.

17                   The reason why we wanted to get before your Honor is

18       because Judge Bucklo set a case management hearing, and there

19       are other judges that may want to move their cases.                So we

20       thought it would be appropriate to get before the first-filed

21       case and suggest maybe, in light of judicial economy, that we

22       just have it all heard before your Honor.

23                   THE COURT:     Well, that makes sense.         I think Judge

24       Bucklo's schedule doesn't allow -- doesn't require any action

25       until November, I thought it was represented, so we have a
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1        little bit of time.

2                    I don't want to rule on this until I've had the

3        benefit of anybody who is going to be in the case weighing in.

4        Do you have an estimate on when you can get that kind of

5        information to me?        Depends on defendants and when they want to

6        retain counsel, obviously.

7                    MR. HART:     Given the nature of the defendant mix in

8        this case, your Honor, we think they will all have competent

9        counsel.     So we're more than happy to take whatever steps are

10       necessary to move it along quickly, including sending them

11       whatever ruling the Court makes today.

12                   THE COURT:     Well, all I'm going to do today is require

13       that anybody who is objecting to this process file a -- put in

14       a filing setting forth the basis for the objection.                That

15       doesn't do any good to defendants who have been served and

16       haven't retained counsel.         So I'm open to a suggestion on how

17       you can expedite that process.

18                   And if Judge Bucklo is the only one who has set a

19       scheduling order, it may be that I can certainly talk to Judge

20       Bucklo and ask that she vacate that order until this issue's

21       been decided.      But you have six other judge -- or five other

22       judges who may be entering orders in the meantime.

23                   MR. BERMAN:     There was an order entered, scheduling

24       order, in the Percy case as well.

25                   THE COURT:     And whose -- what judge is that?
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1                    MS. FEGAN:     Judge Der-Yeghiayan.

2                    THE COURT:     Okay.

3                    MR. DOYLE:     And, your Honor, also Judge Dow has

4        entered an order in the Fargo Stopping Center.               My recollection

5        is it's a November date that he set.

6                    THE COURT:     Okay.    Well, what I'll do is ask my

7        courtroom deputy to contact the courtroom deputies for these

8        judges, let them know that it is likely I will grant -- I'll

9        make a finding of relatedness and ask the Executive Committee

10       to have these cases reassigned to me.

11                   Even if there are objections, I'm likely to do it, but

12       maybe there will be an objection I haven't thought of.                 But on

13       its face, this seems like an eminently reasonable request.

14                   MR. BERMAN:     I understand I filed a motion before

15       everyone was served, but I didn't want this chaos kind of --

16                   THE COURT:     No, Mr. Berman --

17                   MR. BERMAN:     -- to keep going.

18                   THE COURT:     -- I think that was perfectly appropriate

19       because we are going to end up with conflicting scheduling

20       orders where you're going to be at jeopardy of either having to

21       answer or file a motion to dismiss.            If there's motions to

22       dismiss filed in this case, they ought to be coordinated and

23       done so that there's only one judge reading them, not seven.

24       And it just makes no sense -- it's a waste of your clients'

25       money and our time to do it otherwise.
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1                    We'll contact -- we'll contact all the other judges

2        who -- the other six judges on these cases and see if they can

3        hold off on filing scheduling orders on those cases until all

4        appearances have been filed in this case and I can rule on the

5        relatedness issue.

6                    I don't necessarily need to have everyone who is in

7        the case raise their opinion.           I'm doing it as a matter of

8        fairness.     But I've given you a preview of what I think the

9        right ruling is on this case.

10                   So I will -- I'm going to enter an order -- I don't

11       have the authority to enter an order on cases not in front of

12       me, and that's the problem.          I will ask plaintiffs' counsel in

13       this case and current defense counsel in this case to contact

14       the plaintiffs' lawyers in the other cases and any defense

15       lawyers in the other cases.          And give me a status report in two

16       weeks indicating who you've talked to and whether or not there

17       is an objection and informing those people who have an

18       objection that they should weigh in on this motion before me

19       that affects them and file any objection within a week of that.

20                   So two weeks for a status report.           It can either be --

21       make it a joint status report between the parties that are in

22       the case, letting me know that you've at least contacted as

23       many people as you can.         And if there's any objections, it

24       should be noted, and those parties that have an objection will

25       have one week after that to file their brief objecting to it.
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1                And then I'll set this case -- well, I'm going to

2     enter an order at that point if -- unless I hear something I'm

3     not anticipating right now, I'll enter an order finding

4     relatedness and asking the Executive Committee to reassign the

5     cases to me; and I'll set a prompt status after that so we can

6     get this case on track.

7                How does that sound?        I'm open to suggestions if

8     you've got a better one.

9                MR. BERMAN:      No, that sounds excellent from my

10    perspective, your Honor.

11               THE COURT:     Defendants --

12               MR. DOYLE:     That's fine, your Honor.

13               MS. MURRAY:      That's fine.

14               MR. LAYTIN:      That's fine.

15               THE COURT:     -- okay with that too?         Okay.    We'll do

16    that.

17               So the two weeks will be when, Sandy?

18               THE CLERK:     October 6th.

19               THE COURT:     Okay.    And any objections filed a week

20    after that.

21               THE CLERK:     That's October 13th.

22               THE COURT:     Okay.    And I'll hold off on setting a

23    status until I've -- these cases have been reassigned to me.

24    But once that order is in, I expect to set a pretty prompt

25    status in the case.       And we will talk about discovery, whether
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1     I refer this to a magistrate judge for discovery, whether we

2     set up a plan and I monitor it.           We can talk about it.

3                MR. LAYTIN:      Thank you.

4                MS. MURRAY:      Thank you.

5                THE COURT:     Okay.    In this case that's before me, I

6     don't think I have a scheduling order out yet.               I'm not going

7     to put one out because that will be done once we see how many

8     cases are in front of me.

9                Anything else we need to discuss?

10         (No response.)

11               THE COURT:     On the phone, anything?

12         (No response.)

13               THE COURT:     Apparently not.

14               THE CLERK:     Is she still there?

15               THE COURT:     Okay.    Thank you all.

16               MULTIPLE COUNSEL:       Thank you, your Honor.

17         (Concluded at 9:33 a.m.)

18                              C E R T I F I C A T E

19         I certify that the foregoing is a correct transcript of the

20    record of proceedings in the above-entitled matter.

21

22    /s/ LAURA R. RENKE___________________                  September 28, 2016
      LAURA R. RENKE, CSR, RDR, CRR
23    Official Court Reporter

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